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Montoya Sanchez oversaw the laundering of cash drug proceeds through Colombian banks and money
exchanges to convert them from United States currency to Colombia pesos on behalf of defendant
Diego Montoya Sanchez to finance personal and lifestyle expenses.

D. USE OF VIOLENCE BY THE MONTOYA ORGANIZATION TO OBSTRUCT

JUSTICE AND TO PROTECT ORGANIZATION MEMBERS
FROM LAW ENFORCEMENT EFFORTS

Background to the Murder of Jhon Jairo Garcia Giraldo, a/k/a “Dos Mil”:
The Relocation of Montoya Family Members to South Florida and the

Subsequent Seizure of Montoya Family Property

28. | The Montoya organization also utilized its drug proceeds to support members of the
Montoya family. In the late 1990s, the Montoya organization started moving family members to South
Florida. Montoya family members who relocated to South Florida in the late 1990s or shortly
thereafter included defendant Diego Montoya Sanchez’s mother, his sister, his ex-wife, his two sons,
an ex-sister-in-law, two nephews, and a niece. Eugenio Montoya Sanchez oversaw the laundering of
millions of dollars of drug proceeds to help support the luxurious lifestyles of Montoya family
members living in South Florida. The drug proceeds were laundered through shell corporations set
up in the British Virgin Islands. Drug proceeds laundered through this method were used to purchase
luxury cars and luxury homes for Montoya family members who had been relocated to South Florida.

29. However, agents of the Federal Bureau of Investigation (“FBI”) uncovered this scheme
and identified properties funded by Montoya organization drug proceeds. In October 2002, FBI agents
seized two luxury condominiums and luxury automobiles from Montoya family members residing in
South Florida. Federal authorities subsequently forfeited these properties. The seizures and forfeitures

of the Montoya family property, coupled with growing law enforcement pressure from the ongoing

Page 13 (August 4, 2009) Assistant United States Attorney
Attorney for Defendant

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the ongoing investigation of the Montoya organization, eventually prompted Montoya family members
to flee South Florida and return to Colombia.

The Murder of Jhon Jairo Garcia Giraldo, a/k/a “‘Dos Mil”

30. Jhon Jairo Garcia Giraldo, a/k/a “Dos Mil,” was a long time associate of the Montoya
organization. His responsibilities included obtaining and distributing cell phones and pagers for
Montoya organization. Garcia Giraldo continued in that role through the time of his death in August
2003.

31. In June 2003, after learning that Garcia Giraldo was planning to take a trip from
Colombia to South Florida, Eugenio Montoya tasked Garcia Giraldo to deliver money to a Montoya
family member while Garcia Giraldo was in South Florida. Acting at Eugenio Montoya Sanchez’s
direction, in June 2003 Garcia Giraldo delivered drug proceeds to the Montoya family member at a
location in South Florida.

32. Sometime in or slightly prior to August 2003, defendant Diego Montoya Sanchez
directed Eugenio Montoya Sanchez to meet with a Montoya organization member and instruct the
organization member to kidnap and use violence to extract information from Jhon Jairo Garcia
Giraldo. Defendant Diego Montoya Sanchez relied upon Eugenio Montoya Sanchez in this regard
because of Eugenio Montoya Sanchez’s position of trust within the organization.

33. Defendant Diego Montoya Sanchez feared that Garcia Giraldo was cooperating with
United States law enforcement. Defendant Diego Montoya Sanchez directed Eugenio Montoya
Sanchez to instruct the organization enforcer to elicit from Garcia Giraldo whether he was cooperating

and what he had told United States law enforcement. Defendant Diego Montoya Sanchez’s concerns

Page 14 (August 4, 2009) Assistant United States Attorney
Attorney for Defendant ao

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included whether Garcia Giraldo had been cooperating with United States law enforcement when
Garcia Giraldo made the June 2003 delivery of drug proceeds to the Montoya family member.

34. Eugenio Montoya Sanchez conducted the meeting, as directed by defendant Diego
Montoya Sanchez. The subjects of the meeting were to convey defendant Diego Montoya Sanchez’s
instructions and to develop a strategy to lure Garcia Giraldo to a remote meeting location in such a way
that Garcia Giraldo would not suspect that the purpose was to abduct and interrogate him.

35, Following this meeting, a Montoya organization member contacted Garcia Giraldo and
instructed him to meet at a farm in a rural area outside of Cali, Colombia. Garcia Giraldo agreed,
believing that the purpose of the meeting was for him to deliver phones to be used by Montoya
organization members.

36. | Garcia Giraldo went to the farm sometime in early August 2003. After Garcia Giraldo
arrived, multiple Montoya organization members proceeded to interrogate and beat Garcia Giraldo.
Methods used included hitting Garcia Giraldo with baseball bats in the shins and other parts of the
body, holding his head under water, and asphyxiating him with a plastic bag over his head. At
intervals, the beatings let up so that Garcia Giraldo would not go into shock and die before the
questioning was over. During his questioning, Garcia Giraldo admitted only to being briefly detained
when traveling to the United States and to being asked about his travel documents in the United States.
Garcia Giraldo denied being an informant and insisted that he had not cooperated with United States
law enforcement authorities. The beatings continued, and Garcia Giraldo died at the farm. After
Garcia Giraldo died, the assailants at the farm dismembered his remains and disposed of them in a

river.

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Attorney for Defendant
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37. Over the course of its existence, the Montoya organization has used violence in order
to protect itself against law enforcement investigations and initiatives. The Montoya organization, at
the direction of defendant Diego Montoya Sanchez and other high-ranking organization members, has
used violence in order to extract from individuals information that the Montoya organization believed
these individuals may have provided to authorities. Also at the direction of defendant Diego Montoya
Sanchez and other high-ranking organization members, the Montoya organization has killed
individuals believed to be threats to the organization. The Montoya organization has used violence
and murder to prevent individuals from passing on information to law enforcement, to punish those
suspected of doing so, and to instill fear in others to deter them from doing the same.

38. The form of violence and interrogation employed on Garcia Giraldo was a technique
used by the Montoya organization against persons that the organization feared were cooperating with
law enforcement. Defendant Diego Montoya Sanchez further was aware that once questioning was
complete, the subjects of the violence and interrogation were rarely allowed to live. When defendant
Diego Montoya Sanchez directed that Garcia Giraldo be abducted and interrogated for information,
defendant Diego Montoya Sanchez understood that the likely consequence was that Garcia Giraldo
would be killed.

39. In 1999, defendant Diego Montoya Sanchez was indicted in the United States District
Court for the Southern District of Florida in United States v. Diego Montoya, et al., Case No. 99-804-
Cr (hereinafter referred to as “Case No. 99-804"). The charges against defendant Diego Montoya
Sanchez in Case No. 99-804 were made public in 2000 and were pending during the time period of
the planning of the abduction of Garcia Giraldo and Garcia Giraldo’s subsequent murder. At the time

of the planning of Garcia Giraldo’s abduction and Garcia Giraldo’s subsequent murder, the existence

Page 16 (August 4, 2009) ' Assistant United States Attorney af
Attorney for Defendant

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of the charges against defendant Diego Montoya Sanchez in Case No. 99-804 was well-known within
the Montoya organization — including by defendant Diego Montoya Sanchez and numerous other
significant members of the Montoya organization. Defendant Diego Montoya Sanchez understood that
the abduction and murder of Garcia Giraldo had the purpose of: (a) assisting defendant Diego Montoya
Sanchez and the Montoya organization as a whole in tracking potential law enforcement activities
against them in Case No. 99-804 and other potential prosecutions; (b) retaliating against Garcia
Giraldo for his perceived cooperation with law enforcement; (c) preventing Garcia Giraldo from
assisting United States law enforcement in the prosecution of defendant Diego Montoya Sanchez in
Case No. 99-804, as well as in potential prosecutions of others members of the Montoya organization;
(d) instilling fear in others as to the consequences of cooperating with United States law enforcement
against defendant Diego Montoya Sanchez and others in the Montoya organization in Case No. 99-804,
as well as other potential prosecutions; and (e) thereby deterring them from doing so.

The Murder of the Brothers of Carlos Jose
Robayo Escobar, a/k/a ““Guacamayo”

40. | The 2005 murders of the brothers of Carlos Jose Robayo Escobar, a/k/a “Guacamayo,”
serve as another example of the Montoya organization’s use of violence to impede cooperation with
authorities. Carlos Jose Robayo Escobar was a debt collector and enforcer and long had been a close
and trusted Montoya organization operative. In March 2005, Robayo Escobar was arrested by
Colombian authorities, and in April 2005 he was indicted as a co-defendant in this case.

41. Over the course of mid-2005, and while Robayo Escobar was in custody in Colombia
pending extradition to the United States, Montoya loyalists started to develop suspicions that Robayo

Escobar’s brother, Nelson Robayo Escobar, a/k/a “Mamoncillo,” was cooperating with authorities.

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In approximately September 2005, Montoya loyalists murdered Nelson Robayo Escobar, all as well
as two other brothers, Diego Alberto Robayo Escobar, a/k/a “Puma,” and Jaime Adrian Robayo
Escobar, a/k/a “Micoseco.” Participants in the killings included co-defendant Oscar Varela Garcia,
a/k/a “Capachivo,” and co-defendant Gildardo Rodriguez Herrera, a/k/a “Camisa.”

E. THE WAR BETWEEN THE VARELA AND
MONTOYA ORGANIZATIONS

Background: The Rise to Power of Defendant Diego Montoya Sanchez
and Wilber Varela Within the North Valley Cartel

42. Over the course of the 1990s, the two dominant wings within the North Valley Cartel
were led by the Urdinola and Henao families. The Urdinola wing participated in all aspects of the drug
trafficking business, including operating as significant producers of cocaine. The drug trafficking
patriarch of the Urdinola family was Ivan Urdinola Grajales, who was defendant Diego Montoya
Sanchez’s long-time patron in the cocaine trafficking world.

43. As atrusted cocaine trafficking associate of Ivan Urdinola Grajales, defendant Diego
Montoya Sanchez traditionally was most closely affiliated with the Urdinola wing of the North Valley
Cartel. Over the course of the 1990s, as his success and prominence within the Colombian drug
trafficking world grew, defendant Diego Montoya Sanchez climbed within the power structure of the
Urdinola wing. By the time that Ivan Urdinola Grajales died in a Colombian prison in 2002, defendant
Diego Montoya Sanchez had become the kingpin of what had been the Urdinola wing of the North
Valley Cartel.

44. The Henao wing likewise participated in all aspects of the drug trafficking business.
Throughout much of the 1990s, the Henao wing was led by Orlando Henao Montoya, with his brothers

Fernando and Archangel also occupying significant roles. Orlando Henao Montoya’s murder in 1998

Page 18 (August 4, 2009) Assistant United States Attorney
Attorney for Defendant Cc

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set in motion the rapid decline of the Henao brothers. In December 2001, Fernando Henao Montoya
was arrested in Miami. The fall of the Henao brothers was completed in January 2004, when
Archangel Henao Montoya was arrested in Panama, from where he was extradited to the United States
several weeks later.

45. As the Henao brothers started to decline from prominence in the late 1990s, Wilber
Varela ascended to control over that wing of the North Valley Cartel. Varela was believed to be a
former officer in the Colombian National Police. Varela’s roots in the Colombian drug trafficking
world were as an enforcer within the Henao wing. Over time, Varela rose within the power structure
of the Henao wing. By the time that defendant Diego Montoya Sanchez took over what had been the
Urdinola wing of the North Valley Cartel, Wilber Varela had elevated to the top of what had been the
Henao wing of the North Valley Cartel. By the end of the 1990s, Wilber Varela and defendant Diego
Montoya Sanchez were the two foremost kingpins within the North Valley Cartel.

The Escalation of Tensions Between
the Varela and Montoya Organizations

46. For a long time, relations between Wilber Varela and defendant Diego Montoya
Sanchez had been tense. These tensions dated back to the murder of Libardo Duque, a/k/a “‘Payaso,”
in the early 1990s. Until his death, Duque had been an enforcer for then-North Valley Cartel kingpin,
Orlando Henao. Defendant Diego Montoya Sanchez and then-North Valley Cartel kingpin Ivan
Urdinola Grajales believed that Duque had targeted detente Diego Montoya Sanchez for murder.
Over the course of its history, the Montoya organization has used violence against rival drug traffickers
to prevent perceived threatened attacks and assassinations of organization members and members of

their families. In order to preempt a possible attack on defendant Diego Montoya Sanchez, Ivan

Page 19 (August 4, 2009) Assistant United States Attorney ob
Attorney for Defendant

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Urdinola Grajales, with the knowledge and consent of defendant Diego Montoya Sanchez, directed
Oscar Varela Garcia, a/k/a “Capachivo,” to kill Duque. Oscar Varela Garcia was a long-time enforcer
in the Urdinola wing of the North Valley Cartel and, through that association, developed a close
relationship with defendant Diego Montoya Sanchez. Oscar Varela Garcia carried out the killing, as
directed.

47. Tensions between the Montoya and siacela organizations started to escalate as the 1990s
came to aclose. North Valley Cartel traffickers who formerly would work freely with a variety of
organizations increasingly were forced to pick sides. By way of example, in approximately 2000-01
the Varela organization ordered prominent North Valley Cartel cocaine transportation specialists
Eduardo Restrepo Victoria, a/k/a "El Socio," Pedro Pineda Camargo, a/k/a “Pispi,” and Jaime Alberto
Marin, a/k/a “Beto Marin,” to cease offering cocaine transportation services to the Montoya
organization.

48. The animosity between the Varela and Montoya factions progressively spawned
significant outbreaks of violence within the Colombian narcotics underworld. In December 2001,
Montoya and Varela organization enforcers engaged in a widely publicized shoot-out in a discotheque
north of Cali, Colombia. Within weeks, several Varela enforcers who had been arrested in connection
with the incident were murdered in a Colombian jail. Starting sometime in 2002, a high-ranking
Varela enforcer named Javier Antonio Calle Serna, a/k/a “Comba,” mounted an extensive armed
initiative in the traditional Urdinola family stronghold in Canon de Garrapatas. Through these efforts,
Calle Serna’s forces took over large portions Urdinola family land and forced Urdinola family

members and loyalists out of Canon de Garrapatas.

Page 20 (August 4, 2009) Assistant United States Attorney Ov
Attorney for Defendant

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49, On January 5, 2003, Varela operatives murdered Miguel Solano Duran at a nightclub
in Cartagena, Colombia. Solano Duran was a longtime and high-level trafficking partner of the
Montoya organization, as well as a personal friend of defendant Diego Montoya Sanchez. The murder
of Solano Duran triggered an even further elevation of tensions between the rival organizations.

50. In July 2003, prominent North Valley Cartel traffickers Juan Carlos Ramirez Abadia,
a/k/a "Chupeta,”’ and Luis Hernando Gomez Bustamante, a/k/a ““Rasguno,” along with Gabriel Puerta
Parra, who was a long-time counselor and facilitator within the Cartel, convened a summit to try to
defuse the tensions between the Montoya and Varela factions. The summit took place at Puerta’s
ranch in Colombia’s Magdalena Medio region, casi of Medellin and northwest of Bogota.
Defendant Diego Montoya Sanchez and Wilber Varela both attended. Both were accompanied by a
number of their closest associates, as well as numerous armed bodyguards. Although the summit
lasted several hours, it made no progress in defusing tensions between the two factions.

The War Between the Varela and Montoya Organizations

51. By the fall of 2003, the hostilities had erupted into an all-out war in which the Varela
and Montoya organizations targeted each other’s members for murder. The Varela-Montoya war may
have had roots in personal animosities among the different participants that dated back many years.
However, the war ultimately carried a far broader and more sweeping significance within the
Colombian narcotics underworld. The Varela-Montoya war functioned as a battle for dominance
within the North Valley Cartel and over its most valued drug trafficking production and export routes.

52. One of the most significant murders committed in the course of the Varela-Montoya
war was the March 2004 assassination of retired Colombian National Police colonel Danilo Gonzalez.

For years, Gonzalez had assisted prominent North Valley Cartel traffickers, including the Montoya

Page 21 (August 4, 2009) Assistant United States Attorney
' Attorney for Defendant

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organization, by managing an extensive corruption network within the Colombian National Police.
As tensions between the Varela and Montoya organizations escalated, Gonzalez aligned himself with
the Varela organization.

53. On or about December 29, 2003, Colombian authorities captured Juan Carlos Montoya
Sanchez, the brother of defendant Diego Montoya Sanchez. Gonzalez was blamed for the arrest and
as a result was targeted for murder.

54. On the day of the murder, a Montoya loyalist learned that Gonzalez had left a Bogota
law office around lunchtime with a lawyer who worked in the building. A team of enforcers, including
Gildardo Rodriguez Herrera, a/k/a “Camisa,” positioned themselves at the building that housed the law
office. When Gonzalez returned from lunch, enforcers stationed in the lobby ambushed Gonzalez,
shooting him repeatedly and killing him.

55. Another of the more significant murders committed in the course of the war was the
murder in Mexico of prominent North Valley Cartel trafficker Pedro Pineda Camargo, a/k/a “Pispi.”
Prior to 2003, Pineda had been one of the top transporters servicing Varela. A series of events that
concluded with Pineda switching loyalties to the Montoya organization resulted in Varela targeting
Pineda for murder. In September 2005, Mexican drug traffickers working on Varela’s behalf kidnaped
and murdered both Pineda and his wife.

56. The all-out war between the Varela and Montoya organizations continued until
approximately October 2005, at which point the organizations entered into an uneasy “truce,” with
tensions continuing to spark thereafter. The war resulted in hundreds of deaths. Victims included not

only members and associates of the two organizations, but also innocent civilians.

Page 22 (August 4, 2009) Assistant United States Attorney A
Attorney for Defendant

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Sy. Over the course of the war between the rival organizations, the Montoya organization,
at the ultimate direction of defendant Diego Montoya Sanchez, continued exporting cocaine to Mexico,
to be further smuggled into the United States. The Montoya organization funded its war activities
through proceeds of cocaine trafficking.

F. THE CAPTURE OF DEFENDANT DIEGO MONTOYA SANCHEZ

58. On September 10, 2007, Colombian authorities conducted a raid on a ranch in a rural
area outside of Zarzal, Valle del Cauca, Colombia. As the Colombian authorities approached the
location by helicopter, defendant Diego Montoya Sanchez spotted them and attempted to flee. The
arrest team descended by rope from helicopters and siete the ranch and nearby locations. Within
an hour, arrest team members found defendant Diego Montoya Sanchez hiding beneath leaves in a
creek-bed located approximately 700 yards from the ranch.

Respectfully submitted,

JEFFREY H. SLOMAN
ACTING UNITED STATES ATTORNEY

MICHAEL S. DAVIS

ASSISTANT UNITED STATES ATTORNEY
FL BAR # 972274

99 N.E. 4th Street

Miami, Florida 33132

ph: (305) 961-9027; fax: (305) 530-6168
e-mail: Michael. Davis2@usdoj.gov

I, Diego Montoya Sanchez, agree that above-styled factual basis is true and correct to the best
of my knowledge. I confirm that this factual basis has been translated into my native language and
that I have read it or that it has been read to me. Because the factual basis set forth above has the
limited purpose of supporting my guilty plea to the charges in Counts | and 10 of the Fifth Superseding
Indictment, the factual basis set forth above does not purport to represent all facts and circumstances

Page 23 (August 4, 2009) Assistant United States Attorney ek,
Attorney for Defendant
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relating to my participation in these offenses. Similarly, it is my understanding that the factual basis
contained above is not intended to identify all knowledge I have of the unlawful activity of other
individuals. Accordingly, the facts set forth above do not purport to contain all I know of the unlawful
conduct of others with whom I participated or the unlawful conduct of others of which I am otherwise
aware.

Date: Aabasr- /, 007

Date: §- 0 - 007 By: hn,

Lh A. CLAY, ESQ.
ATTORNEY FOR eS

Page 24 (August 4, 2009) Assistant United States Attorney prd
Attorney for Defendant Cc

Defendant 7 De fy)
